         IN THE UNITED STATES DISTRICT COURT FOR THE
             WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CIVIL NO. 1:06CV373-3-T
                             [1:02CR105-T]


MICHAEL ANTHONY JENKINS,                  )
                                          )
                  Petitioner,             )
                                          )
            v.                            )            ORDER
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
              Respondent.                 )
_____________________________             )


      THIS MATTER is before the Court on the Petitioner’s motion for

reconsideration of the denial of his motion to vacate, set aside or correct

sentence pursuant to 28 U.S.C. § 2255. See Memorandum and Order,

Judgment, filed May 16, 2007.

      The Petitioner’s motion for reconsideration is simply a restatement of

those issues he presented in his § 2255 and as such, the Court finds the

motion for reconsideration to be without merit.

      IT IS, THEREFORE, ORDERED that the Petitioner’s motion for

reconsideration is hereby DENIED.




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                                 Signed: June 20, 2007




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